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                 IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                   :   CRIMINAL NO. 1:19-CR-316
                                           :
              v.                           :   (Judge Conner)
                                           :
DARIAN DAVIS RAY,                          :
                                           :
                    Defendant              :

                                 MEMORANDUM

      Defendant Darian Davis-Ray 1 moves the court to suppress evidence

recovered during a search of his residence and, later, a search of his car. For the

following reasons, we will deny Davis-Ray’s motion.

I.    Factual Background 2

      On August 13, 2018, Steelton Borough Police Detective Kevin Martin

conducted a traffic stop of Davis-Ray’s vehicle. (See Gov. Ex. 1 at 4). During the

traffic stop, Detective Martin learned that Davis-Ray lived in Apartment #2 at 19

North 4th Street in Steelton, Pennsylvania. (Id.) Two days later, on August 15,

2018, Detective Martin opened a drug investigation into Davis-Ray. (Id.) That same




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       The indictment refers to the defendant as both “Darian Davis Ray” and
“Darian Davis-Ray.” (See Doc. 1). Consistent with the defendant’s filings in
support of his suppression motion, we will refer to the defendant as “Darian Davis-
Ray.” (See generally Doc. 37-1).
      2
        The following factual narrative derives from testimonial and documentary
evidence adduced during the suppression hearing in this matter, together with
several exhibits attached to the parties’ briefing. Citations to hearing exhibits are
abbreviated as “Gov. Ex.” Citations to the September 1, 2020 suppression hearing
transcript are abbreviated as “9/1/20 Tr. __.”
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day, at roughly 12:30 a.m., Detective Martin conducted a “trash pull” of two trash

bags sitting in the alleyway outside Davis-Ray’s residence. (Id.)

       Martin recovered several items from the trash pull that he documented in a

police report. The first bag officers searched contained no mail, so the bag was

discarded. (See Doc. 37-1 at 34). The second bag, however, contained “pieces of

suspected marijuana inside a corner of a cellophane bag,” “several other loose

marijuana stems and pieces through out (sic) the second bag,” and “blunt guts

inside a cup that is consistent with the use of marijuana.” (Id.) Detective Martin

also recovered two pieces of mail addressed to Davis-Ray at the North 4th Street

address and a prescription bottle issued to Davis-Ray. (Id.) In addition, Detective

Martin recovered, photographed, and preserved a hypodermic needle found during

the trash pull. (See 9/1/20 Tr. 9:4-18).

       On August 16, 2018, Detective Martin sought a warrant to search Davis-Ray’s

residence for “controlled substances, drug paraphernalia and other substances or

materials.” (Gov. Ex. 1 at 1). Detective Martin submitted an affidavit of probable

cause with his search warrant application in which he outlined the facts that he

believed established probable cause to search the residence. (Id. at 4-5). The

affidavit begins with a description of Detective Martin’s law enforcement

experience, specifically that relating to drug investigations. (Id. at 4). It then

describes the August 13, 2018 traffic stop and explains that Detective Martin




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confirmed Davis-Ray’s address during that stop. (Id.) Lastly, the affidavit sets forth

the findings of the August 15, 2018 trash pull as follows:

              1. loose pieces of marijuana
              2. marijuana stems
              3. pieces of marijuana in a cellophane bag corner
              4. burnt marijuana roach cigarette
              5. “blunt guts”
              6. hypodermic needle
              7. mail belong to Darian Wesley Davis-Ray, addressed to
                 19 North 4th Street apartment 2 in the borough of
                 Steelton
              8. empty prescription pill bottle issued to Darian Wesley
                 Davis-Ray

(Id. at 4-5). Magisterial District Judge Kenneth A. Lenker issued the search

warrant. (Id. at 1).

      Officers conducted a daytime search of Davis-Ray’s residence on August 17,

2018. (Id. at 6). During the search, officers recovered a substantial amount of

marijuana, several firearms, six “stacks of cash” totaling roughly $19,000, and three

cell phones. (See id. at 6; Gov. Ex. 2 at 2). A police K-9 also alerted to the smell of

controlled substances on the driver side passenger door of Davis-Ray’s car—a black

2012 Chrysler 300—parked outside the residence. 3 (See Gov. Ex. 2 at 2). Officers

promptly sought another search warrant for Davis-Ray’s car. (See id. at 1).

      Attached to the application for a warrant to search Davis-Ray’s car is an

affidavit of probable cause filed by Officer Dory Thompson of the Steelton Borough

Police Department. (Id. at 2-3). In his affidavit, Officer Thomson describes the


      3
        The car was apparently registered to Katiria Maldonado-Davila. (See Doc.
29). However, Davis-Ray was in possession of the car’s key at the time of the home
search and was seen driving the car in the days prior. (Id.) Davis-Ray does not
disclaim custody of the car for purposes of this motion. (See Doc. 37-1 at 2-3).

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findings of the earlier home search and explains that the police K-9 alerted when

outside Davis-Ray’s car. (Id. at 2). Magisterial District Judge Michael J. Smith

issued the search warrant. (Id. at 1). During an August 18, 2018 search of the car,

officers recovered over $2,000 in cash, two phones, “loose marijuana shake,” and

mail. (Id. at 4).

       At the suppression hearing, Detective Martin explained that detectives

regularly use trash pulls as an investigative technique to look for evidence of drug

use or trafficking. (9/1/20 Tr. 6:2-8). He testified that he has applied for search

warrants based on trash-pull evidence at least 20 times over the course of nine

years. (Id. at 6:9-15). According to Detective Martin, he has never been denied a

search warrant based on trash-pull evidence. (Id. at 6:24-8:16). Detective Martin

also testified that Judge Lenker expressed no hesitation or doubt as to his showing

of probable cause. (Id. at 8:17-25). He went on to state that he did not mislead

Judge Lenker in his affidavit, (id. at 9:1-3), and that, based on his experience, he

believed he was lawfully authorized to search Davis-Ray’s residence, (id. at 19:19-

23). Counsel for Davis-Ray asked no questions of Detective Martin and called no

witnesses. (Id. at 10:24-11:1).

       The undersigned thereafter asked Detective Martin a series of questions

regarding his investigation into Davis-Ray. The court asked Detective Martin to

“[e]xplain . . . how you began a drug investigation into the residence” on August 15,

2018. (Id. at 11:15-16, 11:9-18). Detective Martin stated that his department had

“prior contact” with Davis-Ray and that “we were basing our investigation off that

prior contact.” (Id. at 11:22-25; see also id. at 13:2-12). It is undisputed that


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Detective Martin failed to describe this prior contact in his affidavit of probable

cause. (Id. at 13:13-15).

II.    Procedural History

       Davis-Ray was indicted on October 30, 2019. Count 1 charges him with

possession with intent to distribute a controlled substance, in violation of 21 U.S.C.

§ 841(a)(1). Count 2 charges him with possession of a firearm in furtherance of a

drug trafficking crime, in violation of 18 U.S.C. § 924(c)(1)(A). Davis-Ray moves to

suppress evidence obtained during the search of his residence and his car. The

court held a suppression hearing on September 1, 2020, and the motion is now ripe

for disposition.

III.   Discussion

       Davis-Ray argues that we should suppress all evidence recovered during, and

stemming from, a search of his home. He asserts that the search warrant

authorizing the search of his residence was unsupported by probable cause. He

also contends that the good-faith exception is inapplicable. Although we agree with

Davis-Ray that the search warrant was not supported by probable cause, we

conclude that the good-faith exception applies.

       A.     Search Warrant Supported by Probable Cause

       We must decide whether the evidence obtained from a single trash pull in

this case, without more, supplied probable cause to support a search warrant.

Davis-Ray argues that trash-pull evidence must be supported by corroborating

evidence of unlawful activity. The government, citing to factually distinguishable




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out-of-circuit case law, asks us to conclude that the evidence obtained during the

trash pull establishes probable cause.

       The Fourth Amendment requires searches and seizures to be reasonable,

and all warrants to be supported by probable cause. See U.S. CONST. amend. IV.

When it comes to searches of the home, the constitutional default is that a warrant

is required. See Kentucky v. King, 563 U.S. 452, 459 (2011) (quoting Brigham City

v. Stuart, 547 U.S. 398, 403 (2006)). To issue a search warrant, the magistrate must

“make a practical, common-sense decision whether, given all the circumstances set

forth in the affidavit . . . there is a fair probability that contraband or evidence of a

crime will be found in a particular place.” United States v. Stearn, 597 F.3d 540, 554

(3d Cir. 2010) (quoting Illinois v. Gates, 462 U.S. 213, 238 (1983)). Our job is “not to

decide probable cause de novo, but to determine whether ‘the magistrate had a

substantial basis for concluding that probable cause existed.’” Id. (quoting Gates,

462 U.S. at 238). In undertaking this review, we are limited “to the facts that were

before the magistrate judge, i.e., the affidavit, and [do] not consider information

from other portions of the record.” United States v. Hodge, 246 F.3d 301, 305 (3d

Cir. 2001) (citation and internal quotation marks omitted).

       As the United States Supreme Court has explained, probable cause is an

amorphous and “fluid” concept. See Ornelas v. United States, 517 U.S. 690, 695-96

(1996). It is “not readily, or even usefully, reduced to a neat set of legal rules.” Id.

(quoting Gates, 462 U.S. at 232). Whether probable cause exists is an objective

determination based on the totality of the circumstances present at the time of the

challenged governmental conduct. See United States v. Williams, 413 F.3d 347, 353


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n.6 (3d Cir. 2005). Probable cause “is not a high bar.” Kaley v. United States, 571

U.S. 320, 338 (2014).

      Davis-Ray does not argue that trash pulls are an improper investigative

technique or that this trash pull itself violated the Fourth Amendment. Rather, he

argues that the de minimis evidence obtained from the trash pull alone is

insufficient to establish probable cause. Because our court of appeals has not

squarely addressed this question in a precedential opinion, we resort to persuasive

precedent for guidance. That precedent makes clear that trash-pull evidence is

more likely to provide the requisite probable cause when it is suggestive of ongoing

or repeated unlawful activity, see United States v. Leonard, 884 F.3d 730, 734 (7th

Cir. 2018); United States v. Abernathy, 843 F.3d 243, 254-55 (6th Cir. 2016); United

States v. Briscoe, 317 F.3d 906, 907-08 (8th Cir. 2003); United States v. Harris, 118 F.

App’x 592, 593-94 (3d Cir. 2004) (nonprecedential); United States v. Jackson, No. 18-

217, 2019 WL 1116913, at *3 (W.D. Pa. Mar. 11, 2019), or is supported by evidence

corroborating the target’s participation in unlawful activity, Abernathy, 843 F.3d at

255 (citation omitted); United States v. Jenkins, 819 F. App’x 651, 661 (10th Cir.

2020) (nonprecedential); United States v. Miller, 134 F. App’x 531, 533 (3d Cir. 2005)

(nonprecedential); Harris, 118 F. App’x at 593-94; Lockhard, 2013 WL 5225234, at *1,

5-6. Police must also link the target to both the trash recovered and the place to be

searched. 4 See Leonard, 884 F.3d at 734; see also Jenkins, 819 F. App’x at 659-61;




      4
        There is no dispute that officers recovered evidence linking Davis-Ray to
the place to be searched.


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Abernathy, 843 F.3d at 254-55; Miller, 134 F. App’x at 533; Harris, 118 F. App’x at

593; Briscoe, 317 F.3d at 907; Jackson, 2019 WL 1116913, at *1-3.

      The most analogous application of this sliding scale is the Sixth Circuit’s

decision in United States v. Abernathy, 843 F.3d 243 (6th Cir. 2016). In Abernathy,

police seized from the defendant’s trash “several” marijuana roaches and

marijuana-laced plastic bags. See id. at 246. The court held that the limited

evidence recovered from the trash pull, by itself, did not create a fair probability

that drugs would be found in defendant’s home. Id. at 254. Its reasoning was

twofold. First, without additional evidence of drug activity, there was no reliable

nexus linking the drug residue and paraphernalia to the defendant’s house. Id. at

254-55. Second, the small quantity of drug paraphernalia was, on its own,

insufficient to establish a fair probability that more drugs were in the home. See id.

at 255. The court explained that its decision may have been different if police

presented evidence of the defendant’s prior involvement in drug activity or

recovered a substantial amount of drug refuse in the defendant’s trash suggestive of

“repeated and ongoing drug activity in the residence.” Id. (citations omitted).

      The government acknowledges that the case sub judice is similar to

Abernathy. (See Doc. 47 at 5). It nonetheless states that there is a circuit split at

play and urges us to side with the Seventh and Eighth Circuits, both of which have

held that certain trash-pull evidence supported a probable cause finding. (Doc. 47

at 5-7 (citing Briscoe, 317 F.3d 906; Leonard, 884 F.3d 730)). Careful review of these

decisions reveals that there is no circuit split: Briscoe and Leonard indeed reached

different results, but they did so on starkly different facts, not different law. Briscoe


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involved large quantities of marijuana seeds and stems, indicative of ongoing

marijuana consumption or trafficking on the premises. Briscoe, 317 F.3 at 908.

Leonard involved two trash pulls conducted one week apart, each containing

“indicia of residency” and “testing positive for cannabis,” likewise suggestive of

“repeated and ongoing drug activity in the residence.” Leonard, 884 F.3d at 734-35.

Both courts held that the issuing judge had a substantial basis to conclude probable

cause existed under the circumstances. Briscoe, 317 F.3 at 908; Leonard, 884 F.3d

at 734-35. Thus, these cases are factually reconcilable with Abernathy. 5

      Persuasive authority within our circuit is also in accord with the analysis

employed in Abernathy, Briscoe, and Leonard. In United States v. Harris, 118 F.

App’x 592 (3d Cir. 2004) (nonprecedential), two trash pulls conducted roughly two

weeks apart—both of which revealed drug-related evidence and indicia of

residency—together with corroborating evidence of criminal activity, established a

substantial basis that probable cause existed. See Harris, 118 F. App’x at 593-94.

Six months later, in United States v. Miller, 134 F. App’x 531 (3d Cir. 2005)

(nonprecedential), the court validated a magistrate’s issuance of a search warrant

based on complaints from neighbors of suspected drug activity, the defendant’s


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        The Fourth and Tenth Circuits have also recognized that a search warrant
application reliant on trash-pull findings must contain additional evidence
corroborating the target’s unlawful conduct. The Fourth Circuit in United States v.
Lyles, 910 F.3d 787 (4th Cir. 2018), held that “a trash pull revealing evidence of three
marijuana stems, three empty packs of rolling papers, and a piece of mail, standing
alone,” did not establish probable cause. Lyles, 910 F.3d at 793, 794. More recently,
the Tenth Circuit held in United States v. Jenkins, 819 F. App’x 651 (10th Cir. 2020)
(nonprecedential), that trash-pull evidence (including drug paraphernalia and
indicia of residency) coupled with indicators of the defendant’s involvement in
other drug crimes established probable cause. See Jenkins, 819 F. App’x at 659-61.

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previous drug-related arrests, and trash-pull evidence containing indicia of

residency and evidence of controlled substances. See Miller, 134 F. App’x at 533-34.

District courts have also sanctioned search warrants in analogous circumstances.

See, e.g., Jackson, 2019 WL 1116913, at *1-3 (three trash pulls revealing drug-related

evidence); Lockhart v. City of Easton, No. 12-0133, 2013 WL 5225234, at *4-6 (E.D.

Pa. Sept. 17, 2013) (trash-pull evidence, indicia of residency, corroborating

indicators of target’s illicit conduct), aff’d, 588 F. App’x 144 (3d Cir. 2014)

(nonprecedential); Gulley v. Haymaker, No. 06-131J, 2009 WL 763549, at *7-8 (W.D.

Pa. Mar. 23, 2009) (two trash pulls revealing drug paraphernalia, indicia of

residency, and ongoing drug investigation into defendant).

       Against this backdrop, we agree with Davis-Ray that the issuing judge lacked

a substantial basis to conclude that probable cause existed to search Davis-Ray’s

home. Detective Martin’s affidavit describes evidence obtained from a single trash

pull. During that trash pull, officers recovered indicia of residency—mail addressed

to Davis-Ray—but scant evidence of drug use or possession. (See Gov. Ex. 1 at 4-5).

The officers in this case seized inconsiderable evidence of marijuana in Davis-Ray’s

trash, nothing suggestive of repeated or ongoing drug-related activity like that in

Briscoe. Furthermore, there is no evidence from which we can confidently

conclude that the drug paraphernalia found in Davis-Ray’s trash was in fact his,

came from his home, or was in his home recently. Without more evidence, there is

no reliable basis to believe that more drugs were in his residence. In other words,

the connection between the substances found in the trash and the place to be

searched is simply too attenuated.


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      Moreover, officers did not support their trash-pull findings with evidence

corroborating Davis-Ray’s alleged involvement in the drug trade. Although

Detective Martin testified at the suppression hearing that his department had a

prior run-in with Davis-Ray that ostensibly fueled suspicions of drug trafficking, he

did not mention prior dealings in his affidavit of probable cause. (See 9/1/2020 Tr.

11:22-25, 13:2-15). The omission of this “critical” information is fatal to the

government’s theory, as it leaves us with no credible basis on which to conclude

that evidence of unlawful drug activity may be in the residence. See Abernathy, 843

F.3d at 255. We therefore hold that this affidavit, supported exclusively by evidence

obtained from a lone trash pull, did not provide the issuing judge with a substantial

basis to conclude that there was probable cause to search the home.

      B.     “Good Faith” Exception

      That the warrant was invalid does not mean evidence obtained pursuant to it

is inadmissible. Under the good-faith exception, we will not suppress “evidence

obtained in objectively reasonable reliance on a subsequently invalidated search

warrant.” United States v. Leon, 468 U.S. 897, 922 (1984). The exclusionary rule

does not apply where officers hold the “objectively reasonable belief that their

conduct d[oes] not violate the Fourth Amendment.” Stearn, 597 F.3d at 560

(quoting Leon, 468 U.S. at 918). Our court of appeals has recognized a few “rare”

exceptions to this rule, only two of which are relevant here. Evidence will be

suppressed if “the magistrate issued the warrant in reliance on a deliberately or

recklessly false affidavit” or “the warrant was based on an affidavit so lacking in

indicia of probable cause as to render official belief in its existence entirely


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unreasonable.” United States v. Pavulak, 700 F.3d 651, 664 (3d Cir. 2012) (quoting

Stearn, 597 F.3d at 561 n.19 (internal quotation marks and citations omitted)).

      Davis-Ray suggests in passing that Detective Martin deliberately or

recklessly provided Judge Lenker with a false affidavit. (See Doc. 37-1 at 8, 10). He

asserts that discrepancies between the probable cause affidavit (which stated that

police found a hypodermic needle in the trash pull) and the police report (which did

not mention a hypodermic needle) demonstrate Detective Martin’s dishonesty. (See

id. at 10). A defendant challenging the veracity of facts submitted in support of a

search warrant application may be entitled to challenge those facts in what is

known as a Franks hearing. See Pavulak, 700 F.3d at 665 (citing Franks v.

Delaware, 438 U.S. 154, 164-65 (1978)). But Davis-Ray has not requested a Franks

hearing and he has made no attempt to develop facts proving that Detective Martin

lied to Judge Lenker. We note that Davis-Ray’s counsel did not cross-examine

Detective Martin at the suppression hearing, thereby suggesting abandonment of

this argument. Nonetheless, Detective Martin testified that he did in fact recover a

hypodermic needle during the trash pull, that it was photographed, and that it was

retained as evidence. (See 9/1/2020 Tr. 9:4-18). We find Detective Martin’s

testimony to be credible, and there is simply no basis on which to find that he

provided false information in his affidavit.

      Davis-Ray argues that Martin’s reliance on the search warrant was

unreasonable because it is woefully lacking in indicia of probable cause. (See Doc.

37-1 at 8, 11-13). In evaluating this argument, we are mindful that, ordinarily, the

issuance of a search warrant essentially proves that the officer acted in good faith.


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Hodge, 246 F.3d at 308 (citing Leon, 468 U.S. at 922; Williams, 3 F.3d at 74). Despite

this presumption, “the good[-]faith exception requires a sincerely held and

objectively reasonable belief that the warrant is based on a valid application of the

law to all known facts.” Stearn, 597 F.3d at 561-62 (quoting United States v.

Zimmerman, 277 F.3d 426, 438 (3d Cir. 2002)).

      We cannot say that Detective Martin’s reliance on the warrant was

unreasonable. The affidavit described Detective Martin’s training and experience

in law enforcement, the open drug investigation into Davis-Ray and his residence,

and the drug contraband found in Davis-Ray’s trash. (See Gov. Ex. 1 at 4). It also

linked that trash to Davis-Ray and Davis-Ray to the house to be searched. (Id. at

4-5). Equipped with this information, a neutral and detached magisterial district

judge issued the search warrant. Under these circumstances, a reasonable officer

could have believed that the warrant and subsequent search were lawful.

      This is especially true given the paucity of binding precedent concerning

trash pulls. Officers acting in good faith must have “a reasonable knowledge of

what the law prohibits.” Stearn, 597 F.3d at 561-62 (quoting United States v.

Zimmerman, 277 F.3d 426, 438 (3d Cir. 2002)). But the limited case law from our

court of appeals offers only guideposts as to the sufficiency of probable cause

affidavits based on trash-pull evidence. Therefore, even an exceptionally well-

informed officer could have reasonably believed that the affidavit was legally

sufficient. In light of this jurisprudential morass, we find that Detective Martin

credibly and reasonably believed that he had probable cause and a valid warrant to

search Davis-Ray’s home. See Hodge, 246 F.3d at 309 (justifying officer’s reliance


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on warrant given the “unsettled jurisprudence governing cases of this type”); see

also Pavulak, 700 F.3d at 664 (justifying officer’s reliance given unsettled law in

circuit at the time of affidavit’s filing and competing out-of-circuit views). 6

       We conclude, based upon the evidence adduced at the hearing and a careful

assessment of Detective Martin’s credibility, that Detective Martin held a sincere

and objectively reasonable belief that the search warrant for Davis-Ray’s home was

supported by probable cause. Hence, we will not exclude evidence obtained during

the ensuing home search. As a result, we need not consider whether evidence

obtained after the home search is inadmissible as fruit of the poisonous tree.

IV.    Conclusion

       We will deny Davis-Ray’s motion (Doc. 37) to suppress. An appropriate order

shall issue.


                                          /S/ CHRISTOPHER C. CONNER
                                          Christopher C. Conner
                                          United States District Judge
                                          Middle District of Pennsylvania

Dated:       November 6, 2020

       6
         Davis-Ray alternatively suggests that the good-faith exception is
inapplicable because Detective Martin was both the affiant and one of the warrant’s
executing officers. (Doc. 37-1 at 12). Our court of appeals has recognized that it
may be problematic for the government to claim good faith when the affidavit was
based on a “paltry showing” of probable cause and the affiant is also one of the
executing officers. See United States v. Zimmerman, 277 F.3d 426, 438 (3d Cir.
2002). That said, the court of appeals has also recognized that the good-faith
exception is not per se inapplicable where relevant officer is both the affiant and an
executing officer. See Pavulak, 700 F.3d at 665. In any event, the affidavit in this
case is supported by enough evidence to render Detective Martin’s reliance
reasonable. Assuming arguendo that the affidavit presents a close call, it was
objectively reasonable for Detective Martin to rely on the warrant once the issuing
judge approved of it. Stearn, 597 F.3d at 567 (quoting Hodge, 246 F.3d at 309).

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